
987 So.2d 248 (2008)
In re Frederick A. STOLZLE, Jr.
No. 2008-B-1023.
Supreme Court of Louisiana.
June 6, 2008.
In re Stolzle, Frederick A. Jr.; Disciplinary Counsel;-Plaintiff(s); Applying for Joint Petition for Consent Discipline.

ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent failed to timely pay his clients' medical providers. Following the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Frederick A. Stolzle, Jr., Louisiana Bar Roll number 12497, be and he hereby is suspended from the practice of law for thirty days. This suspension shall be deferred in its entirety, subject to respondent's successful completion of a one-year period of unsupervised probation governed by the terms and conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10. 1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
